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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     (at London)

 ANDREW MYLES LENZE,                            )
                                                )
        Petitioner,                             )       Civil Action No. 6: 21-115-DCR
                                                )
 v.                                             )
                                                )
 J. GILLEY, Warden,                             )        MEMORANDUM OPINION
                                                )            AND ORDER
        Respondent.                             )

                                     *** *** *** ***

       Petitioner and federal inmate Andrew Myles Lenze has filed a petition for a writ of

habeas corpus pursuant to 28 U.S.C. § 2241, challenging the determination made by the

Bureau of Prisons (“BOP”) that he is not eligible for Earned Time Credits (“ETC”) available

under the First Step Act. [Record No. 6] By prior Order, the Court conducted a preliminary

review of Lenze’s petition and directed the Respondent warden to file a response. [Record

No. 8] The matter has now been fully briefed. [Record Nos. 13 and19] Lenze’s motion will

be denied because the BOP has correctly determined that he is ineligible for ETC.

       In November 2017, a federal grand jury sitting in the United States District Court for

the Eastern District of Missouri issued a one-count Indictment charging Lenze with knowingly

and intentionally distributing heroin in violation of 21 U.S.C. §§ 841(a) and 2, the use of which

resulted in the death of J.C. The offense was punishable under 21 U.S.C. § 841(b)(1)(C).

United States v. Lenze, 4:17-cr-548-AGF-1 (E.D. Mo.) at Record No. 2 (Redacted Indictment).

Pursuant to a written plea agreement with the United States, Lenze pled guilty to the sole count




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of the Indictment in August 2018. Id. at Record No. 40. In December 2018, he was sentenced

to a term of imprisonment of 180 months. Id. at Record No. 60 (Judgment).

       Lenze now claims that the BOP has improperly concluded that he is ineligible to earn

ETC under the First Step Act. [Record No. 6] The First Step Act (“FSA”), Publ. L. No. 115-

015, 132 Stat. 015 (2018), includes a provision directing the Attorney General to develop a

new “risk and needs assessment system” (referred to as the “System”) to provide appropriate

programming for prisoners in an effort to reduce the risk of recidivism. 18 U.S.C. § 3632. The

System is also required to provide incentives and rewards for prisoners to participate in the

“evidence-based recidivism reduction” (“EBRR”) programming, including additional time

credits to be applied toward time in pre-release custody or supervised release, thus allowing

eligible prisoners to be placed in prerelease custody (i.e., home confinement or a Residential

Reentry Center) earlier than previously allowed. See 18 U.S.C. § 3632(d)(4).

       But not all prisoners are eligible to earn the ETC available under the FSA. Pursuant to

§ 3632(d)(4)(D)(lviii):

       A prisoner is ineligible to receive time credits under this paragraph if the
       prisoner is serving a sentence for a conviction under any of the following
       provisions of law:

       […]

       (lviii) Section 401(a) of the Controlled Substances Act (21 U.S.C. § 841),
       relating to manufacturing or distributing a controlled substance in the case of a
       conviction for an offense described in subparagraph (A), (B), or (C) of
       subsection (b)(1) of that section for which death or serious bodily injury resulted
       from the use of such substance.

18 U.S.C. § 3632(d)(4)(D)(lviii). Because Lenze was convicted of distributing heroin in

violation of 21 U.S.C. §§ 841(a) and 2, the use of which resulted in the death of J.C., making

the offense punishable under 21 U.S.C. § 841(b)(1)(C), the clear and unambiguous terms of
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18 U.S.C. § 3632(d)(4)(D)(lviii) specifically preclude him from earning the ETC potentially

available under the FSA.

       While Lenze argues that his crime of conviction is not listed as a disqualifying offense,

this argument is belied by the language of the sole count of the Indictment (to which he pled

guilty), which specifies that a death resulted from the use of the heroin distributed by Lenze,

making his offense punishable under 21 U.S.C. § 841(b)(1)(C). United States v. Lenze, 4:17-

cr-548-AGF-1 (E.D. Mo.).         In addition, according to Respondent, the Presentence

Investigation Report (“PSR”) prepared by the United States Probation Office prior to Lenze’s

sentencing notes that Lenze and the government agreed that the United States Sentencing

Guidelines Total Offense Level analysis had been applied and the Base Offense Level would

be 38, as found in U.S.S.G. § 2D1.1(a)(2) of the 2016 Sentencing Guidelines Manual. [Id.]

Section 2D1.1 provides for a Base Offense Level of 38 if the defendant is convicted under 21

U.S.C. § 841(b)(1)(A), (b)(1)(B), or (b)(1)(C), and the offense of conviction establishes that

death or serious bodily injury resulted from the use of the substance. See U.S.S.G. §

2D1.1(a)(2). The Respondent also states that, in the PSR, Lenze agreed that the heroin was

the “but for” cause of the death of J.C. [Record No. 13 at p. 3]

       While the Respondent has failed to provide the Court with a copy of the PSR for its

review, Lenze does not dispute the characterizations of the contents of the PSR in his reply.

[Record No. 19] Rather, he simply claims that there is a “defined difference” between a

conviction under 21 U.S.C. § 841(b)(1)(C) and § 841(b)(1)(C) resulting in death or serious

bodily harm and that he pled guilty to a “lesser charge.” [Id.] However, the claim that he pled

guilty to a “lesser charge” is supported only by Lenze’s own self-serving characterization of

his plea and is, in fact, directly contradicted by the clear language of the Indictment to which
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he pled guilty (which is available for the Court’s review), which charged him with distributing

heroin that resulted in the death of J.C., punishable by 21 U.S.C. § 841(b)(1)(C). Thus, the

Court concludes that Lenze’s argument that he falls outside the group of prisoners precluded

from earning ETC by 18 U.S.C. § 3632(d)(4)(D)(lviii) is without merit.

       In summary, the BOP has correctly determined that Lenze is ineligible for ETC under

the exclusion provided by 18 U.S.C. § 3632(d)(4)(D)(lviii). Accordingly, it is hereby

       ORDERED as follows:

       1.     Lenze’s petition for a writ of habeas corpus filed pursuant to 28 U.S.C. § 2241

[Record No. 6] is DENIED.

       2.     This action is DISMISSED and STRICKEN from the Court’s docket.

       Dated: November 5, 2021.




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